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AO 91 (Rev. EI/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Western pistrict of Texas

 

United States of America
Vv.

PHILLIP JOHN STAHL Case No. SA-21-MJ-{)\ LU) \

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Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 98/11/2021 to 12/10/2021 in the county of Guadalupe ____ inthe

Western __ District of Texas . the defendant(s) violated:
Code Section Offense Description

18 U.S.C. § 875(c) Interstate Communications — Threat to Injure the Person of Another

Maximum Penalties: 5 years imprisonment, $250,000 fine, 3 years
supervised release, $100 mandatory special assessment

This criminal complaint is based on these facts:

See attached affidavit

{@) Continued on the attached sheet.

ell Uz

Complainant's signature

Edward Mclvor, FBI Special Agent

 

Printed name and title

[_] Sworn to before me and signed in my presence.
(i) Sworn to telephonically and signed electronically.

ow: 12/15/06) HA (PEK

A, ( J Sndge’ ‘5 signature
City and state: San Antonio, Texas HENRY J. BEMPORAD, U.S. Magistrate Judge

Printed name and title

 
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AFFIDAVIT IN SUPPORT OF
A CRIMINAL COMPLAINT

I, EDWARD MCIVOR, do hereby state as follows:

l. | am a Special Agent (“SA”) of the Federal Bureau of Investigation (“FBI”) and have been
so employed since March 2019. I am currently assigned to the San Antonio Division of the FBI. I
am assigned to the Cyber Investigations Squad and as such, I investigate Cyber-crimes, to include
compromises of computers and email systems leading to fraud against corporations and private
individuals, SIM card Swapping fraud, Cyber stalking to include threats of death or serious injury,
and cryptocurrency fraud. I have received particularized training in the investigation of computer-
related crimes, including computer and email system compromises, tools and techniques used by
computer attackers, and the manner in which criminals use the Internet and computers to further
their schemes. I have conducted and been involved in numerous investigations of individuals
suspected of illegally accessing computer and email systems without authority. I have participated
in the execution of numerous search warrants which have resulted in the seizure of evidence
showing how criminals use the internet to facilitate fraud schemes, to include the movement of
proceeds from their crimes.

2. The facts contained in this Affidavit are based on information I gathered personally and
received from other agents and sources of information. The investigation into the criminal conduct
alleged herein revealed the following:

a. On 8/11/2021, at 11:10 PM Eastern Time, and on 08/14/2021, at 5:50 a.m. Eastern
Time, Phillip John Stahl (hereinafter STAHL) of Seguin, TX, submitted online tips to
www.ic3.gov and the FBI National Threat Operations Center (NTOC) located in
Clarksburg, West Virginia via tips.fbi.gov.

b. Documented within the online tip STAHL made multiple statements regarding his
intent to commit suicide and his intent to cause bodily injury and/or death to others.
Specifically, STAHL stated:

i. ““so many ways to get back at mrs. r... [sic] so many ways... [sic] I don't play
internet anymore... [sic] I play street... [sic] I can play streets real good... [sic]
tell mrs. r... [sic] I'm not scared of the fbi.. [sic] I call and email and tell the fbi
lotz of shit.... [sic] so..... [sic] fbi ... [sic] what would scare the shit out of
mrs.r... [sic] | know she has family working at bbtrails.org... [sic] she don't care
about my family.. [sic] I'll take her whole family with me on a trip to heaven...
[sic] wow... [sic] fbi.. [sic] fuck host g... [sic] like I said... [sic] I'm sucidical
aftetr this last hack and my parents want me gone.. [sic] so... [sic] I have
nothing left but to get back at mrs. r... [sic] so... [sic] fbi... [sic] when things
happen to mrs. r.. [sic]”

c. Investigation confirmed bbtrails.org to be Bluebonnet Trails Community Services
(hereafter BTCS), a provider of mental health services. The Executive Director of
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BTCS, Seguin, TX, is A.R., and is believed to be “mrs.r” within STAHL’s notice to
the FBI.

d. Staffat BTCS, Seguin, TX, are very familiar with STAHL and are alarmed by the
threats he communicates. Approximately 3 years ago, STAHL was a residential
patient at BTCS. Since leaving the treatment facility, STAHL has sent 170 emails to
various BTCS employees.

e. Recently, STAHL’s notices to the FBI have escalated in detail and degree of
violence, for instance,

i. On 11/23/2021, STAHL stated:

1. "What's up fbi I'm coming to visit yall soon. I called Ted cruz let him
know call yall.. [sic] got so goods... [sic]" "I been in another hack..
[sic] saw that new os from china sent “A.R'.” @bbtrails.org the goods
again.."

2. "[sic] .... wondered why they said I hacked att on Jan 14th 2019 .. [sic]
went to att n smashed windows in sa texas.. [sic] cops not detain me
rights."

ii. On 11/29/2021, STAHL stated:

1. "hope yall watching me .... [sic] I got the goods and tipping off the fbi
the last 3 years ..... [sic] send top secret agent blonde to my hood this
week.. [sic] I got some x-mas presents for her... [sic]" "I'm the adult
and the cops are kids... [sic] tell ted cruz I found his address and
comming home for x-mas visit to set him straight... [sic]"

2. "What the fuck is going on fbi... [sic] | saw the hackers hack att,
tmobile, specturm hacker insiders,, the cricket store clerk said I got the
new os on the old flip phone... [sic] I'm about to go crazy and light up
Ted Cruz to talk to the fbi.. [sic] Dear fbi... [sic] do we need to go
there.. I will.. | already hit the att hq building d-town sa texas... [sic]
took out 7 windows and cops just took me to hostipal to get stiches...
[sic] then released 14 hours later after visit mental health ward and
released.. What the fuck is going ..."

iii. On 12/10/2021, STAHL stated:

I. “sent txt with image to ehauss@mro.com and “A.R” @bbtrails.org...
[sic] oh I should follow that bitch home and crash into her car and
while she watting for cops bust her windows out and light her up...
[sic] since yall can't get her I will... [sic]

 

' A.R.’s identity has been redacted to protect her privacy.
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2. “'m ready to go sucide by cop to get attention... [sic] what a case that
be... [sic] I walk into sheriffs station and light them up for working
with hackers and making fun of me... [sic]”

3. “let's go with some 40:1 gas and light some sheriffs station office up ...
[sic] that be great... [sic]”

4. “I not scared to light them up if yall fbi can not do yall's job... [sic] we
got till 5 days prepared na paomb bombs and I goto straight to
gaudalupe sheriffs and end this shit.. [sic] ask them and question them
about this shitt and ask att sa buildding who smashed the windows and
cops took me to methiodist hostiptal for treatment for stiches and
faked a mental health intake... [sic] no intake happen.. [sic] so if I light
up texas... [sic] it's hackers faught not mine fbi... [sic] I'm tired of
living... [sic] been through a whole bunch of shit.. [sic] ”

5. “fbi... [sic] let's play truth or dare... [sic] I'm ready are yall... [sic] we
gonna have a real mess on your fbi hands when | start to light up
hackers and sheriffs station saying I hacked att and no fbi talk to me...
[sic] so what the fuck ... [sic] Used in this incident: Other: 40:1 gas
bottles I get from store and get ready us”

f. On 12/11/2021, STAHL was detained by a deputy with Guadalupe County Sheriff's
Office, pursuant to a mental health emergency detention order, pursuant to chapter
573.001(a) of the Texas Health and Safety code, which allows for a warrantless
emergency mental health detention. According to the Guadalupe County Sheriff
Deputy transporting STAHL, during transportation to University Hospital, STAHL
voluntarily admitted he made the statements on the FBI [C3 website and stated he
was sorry for the things he said. Subsequently, STAHL became more agitated and
tried to open the door and jump out of the transport vehicle. Additionally, STAHL
informed the officers that he would not cooperate with them if they came back to his
house.

g. A comparison of the Internet Protocol? (IP) addresses from the emails STAHL sent to
BTCS and the IP addresses captured when STAHL submitted the IC3 notices
containing threats to harm revealed 86 instances in which the same IP address
appeared for the STAHL emails to BTCS and the IC3 complaints/notices. Your
Affiant knows such matches indicate the communications originated from the same
internet subscriber location.

 

> The Internet Protocol address (or simply “IP address”) is a unique numeric address used by computers on the
Internet. An IP address looks like a series of numbers, each in the range 0-255, separated by periods (e.g.,
121.56.97.178). Every computer attached to the Internet must be assigned an IP address so that Internet traffic sent
from and directed to that computer may be directed properly from its source to its destination.

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3; Based upon my training and experience, and as articulated above, there is probable cause
to believe, and I do believe, Phillip John STAHL has committed the offense of Interstate
Communications — Threat to Injure the Person of Another, in violation of Title 18, United States
Code, Section 875(c), and respectfully requests that a criminal complaint be issued and a warrant
for his arrest authorized.

Respectfully submitted,

ELeob Ut

Edward Mclvor Oe:

Special —
Federal Bureau of Investigation

 

Subscribed and sworn to telephonically on this qs day of December, 2021.

LZ (Lye

HENRY JBEMPORA
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